The suit is for an account and distribution of the personal estate of Isaac Hutchins, who died intestate in 1844, leaving four children, of whom the feme plaintiff is one. After the administrator's answer, it was referred to the master to state the accounts of the administration, and also to inquire whether the intestate made any advancements to his children respectively, and what they were, and upon the basis thereof, if found, to state the share due to the several children, if any.
The report ascertained the surplus in the hands of the administrator, and, after taking into the fund the several advancements made to the children respectively, it found that nothing further was going to the plaintiffs by reason of an advancement made to the husband, Bridgers, as found by the master upon the examination of Bridgers. Besides advancements in slaves and other effects, and cash given, Bridgers stated before the master that some years before 1842, but after his marriage, he borrowed from the intestate the sum of $250 and $200, and at the several times of borrowing gave his notes therefor to the intestate; and that in 1842 the intestate gave him up the two (69) notes to be canceled, saying at the same time that his reason for doing so was that he, the intestate, did not want them *Page 60 
to come against the examinent after his (the intestate's) death, and that he was then old and did not expect to live long.
The plaintiffs objected to so much of the report as found those sums of $200 and $250 to be advancements; and upon argument the exception was overruled and the petition dismissed with costs, and the plaintiffs appealed.
The decree must be affirmed with costs. A gift to the husband during coverture is undoubtedly an advancement to the wife; and it is quite clear that the release of canceling of the bonds of the child, with the intention thereby to prefer him in life, is as much an advancement as so much cash.Gilbert v. Wetherell, 2 Simons and Stuart, 254.
PER CURIAM.                                          Decree affirmed.
Cited: Banks v. Shannonhouse, 61 N.C. 286; Melvin v. Hubbard, 82 N.C. 39.
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